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                                                          [DO NOT PUBLISH]



               IN THE UNITED STATES COURT OF APPEALS

                       FOR THE ELEVENTH CIRCUIT
                         ________________________

                               No. 20-11717
                           Non-Argument Calendar
                         ________________________

                      D.C. Docket No. 1:19-cv-01598-CC



JARED BATTERMAN,

                                      Plaintiff - Counter Defendant - Appellant,

versus

BR CARROLL GLENRIDGE, LLC,

                                              Defendant - Counter Claimant,

IQ DATE INTERNATIONAL, INC,

                                               Defendant,


EQUIFAX INFORMATION SERVICES, LLC,
TRANS UNION, LLC,

                                               Defendants – Appellees.
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                            ________________________

                    Appeal from the United States District Court
                       for the Northern District of Georgia
                          ________________________

                                  (October 7, 2020)

Before GRANT, LUCK and DUBINA, Circuit Judges.

PER CURIAM:

      Appellant, Jared Batterman, appeals the district court’s order granting a

motion for judgment on the pleadings in his action asserting claims for negligent

and willful violation of the Fair Credit Reporting Act (“FCRA”), 15 U.S.C. § 1681

et seq. against Defendants/Appellees, TransUnion LLC and IQ Data International,

Inc. (referred to collectively as “Appellees”). Batterman claims that the Appellees

inaccurately reported a collection account on his credit file and failed to investigate

properly the alleged inaccuracy, as required by the FCRA. After reading the

parties’ briefs and reviewing the record, we affirm the district court’s order.

                                           I.

      Batterman rented an apartment from BR Carroll Glenridge, LLC, (“BR

Carroll”) from September 7, 2017, to January 20, 2018. The lease agreement

contained, in pertinent part, that it would end if the premises were destroyed or

otherwise rendered uninhabitable due to an Act of God or any other catastrophic

event or casualty that was not the responsibility of the tenant, his family, or his


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guests. Batterman alleged that shortly after he executed the lease, the premises

became uninhabitable due to flooding. Batterman stated that he notified BR

Carroll of the problem, and it failed to repair the leak or remediate the flooding.

Lab results of the samples taken from the apartment showed elevated counts of

harmful molds in the apartment’s storage closet and living room. (R. Doc. 1-2,

Plaintiff’s Complaint).

      In January 2018, Batterman terminated the lease and notified BR Carroll via

email. BR Carroll acknowledged the termination of the lease but claimed that

Batterman owed an additional $2,816 as liquidated damages and hired IQ Data to

collect the liquidated damages. Both BR Carroll and IQ Data reported to credit

reporting agencies, including Equifax and TransUnion, that Batterman was

delinquent on an account. Batterman sent letters to the companies explaining that

the representations from BR Carroll and IQ Data were false and requesting that

Equifax and TransUnion investigate those misrepresentations. Batterman attached

pertinent documents to the dispute letters and asserted that he overpaid BR Carroll

because he paid the full rent for January 2018 but terminated the lease and vacated

the premises on January 21. Batterman further stated in the dispute letters that BR

Carroll owed him his deposit of $75.

      After requesting that Equifax and TransUnion conduct an adequate

investigation of the dispute and experiencing credit-related issues, Batterman filed

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a complaint seeking to hold the Appellees liable for negligent and willful

violations of the FCRA. He asserted that Equifax and TransUnion violated the

FCRA by failing to establish or follow reasonable procedures to assure maximum

possible accuracy in the preparation of the credit reports and files they publish and

maintain concerning Batterman. He also alleged that he consequently suffered

damages from the Appellees’ negligent and willful conduct. He sought to recover

attorney’s fees and costs.

      Batterman also alleged that Appellees violated section 1681i of the FCRA

by failing to delete inaccurate information in his credit file after receiving actual

notice of the inaccuracies, failing to conduct lawful reinvestigations, failing to

maintain reasonable procedures with which to filter and verify disputed

information, and relying upon verification from unreliable sources. Batterman

again alleged that he suffered damages and that the Appellees’ conduct was willful

and negligent. He sought costs and attorney’s fees from both Equifax and

TransUnion.

      Appellees filed a motion for judgment on the pleadings, and the district court

referred the motion to the magistrate judge. The magistrate judge found that

Batterman’s allegations tended to show that there was an inaccuracy in his credit

report and that there was a factual dispute about the amount allegedly owed by

Batterman. The magistrate judge also found that Equifax and TransUnion were

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required to conduct a reasonable investigation to determine the accuracy of what

was reported, but they failed to do so. Thus, the magistrate judge recommended

that the motion be denied because Batterman’s allegations were sufficient to state a

claim for relief under the FCRA.

      Appellees objected to the magistrate judge’s report and recommendation,

mainly arguing that Batterman alleged a legal contractual question, not a factual

inaccuracy. The Appellees also objected on the basis that the magistrate judge

failed to acknowledge that there was an unresolved lease dispute between BR

Carroll and Batterman regarding Batterman’s liability for liquidated damages. The

district court agreed with the Appellees and rejected the magistrate judge’s

recommendation. Finding that a factual inaccuracy is required to state a FCRA

claim, and Batterman failed to so state, the district court granted the Appellees’

motion for judgment on the pleadings.

                                         II.

      We review de novo a district court’s order granting a motion for judgment

on the pleadings pursuant to Federal Rule of Civil Procedure 12(c). Perez v. Wells

Fargo N.A., 774 F.3d 1329, 1335 (11th Cir. 2014). “Judgment on the pleadings is

proper when no issues of material fact exist, and the moving party is entitled to

judgment as a matter of law based on the substance of the pleadings and any

judicially noticed facts.” Cunningham v. District Attorney’s Office for Escambia

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Cty., 592 F.3d 1237, 1255 (11th Cir. 2010) (quoting Andrx Pharm., Inc. v. Elan

Corp., 421 F.3d 1227, 1232–33 (11th Cir. 2005)). A motion for judgment on the

pleadings under Rule 12(c) is governed by the same reviewing standards as a

motion to dismiss for failure to state a claim pursuant to Rule 12(b)(6). Sun Life

Assurance Co. of Canada v. Imperial Premium Fin. LLC, 904 F.3d 1197, 1207

(11th Cir. 2018).

      Under Rule 8(a)(2), a complaint must include “a short and plain statement of

the claim showing that the pleader is entitled to relief,” and the statement must

“give the defendant fair notice of what the claim is and the grounds upon which it

rests.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, 127 S. Ct. 1955, 1964

(2007) (internal quotation marks and alterations omitted). To survive a Rule

12(b)(6) dismissal, the plaintiff’s factual allegations must be sufficient “to raise a

right to relief above the speculative level.” Id. at 555, 127 S. Ct. at 1965. On

review of a motion to dismiss, courts “are not bound to accept a legal conclusion

couched as a factual allegation.” Papasan v. Allain, 478 U.S. 265, 286, 106 S. Ct.

2932, 2944 (1986).

                                          III.

      The FRCA was enacted “to require that consumer reporting agencies adopt

reasonable procedures for meeting the needs of commerce for consumer credit . . .

in a manner which is fair and equitable to the consumer, with regard to the

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confidentiality, accuracy, relevancy, and proper utilization of such information.”

15 U.S.C. § 1681(b). The FCRA is intended “to prevent consumers from being

unjustly damaged because of inaccurate or arbitrary information in a credit report.”

Equifax v. Fed. Trade Comm’n, 678 F.2d 1047, 1048–49 (11th Cir. 1982). To

establish a prima facie violation of the FCRA, a consumer must present evidence

tending to show that a credit reporting agency prepared a report containing

“inaccurate” information. Cahlin v. General Motors Acceptance Corp., 936 F.2d

1151, 1156 (11th Cir. 1991). If the plaintiff fails to satisfy this initial burden, he

“as a matter of law, has not established a violation” of the FRCA. Id.

      Section 1681i(a) of Title 15 provides that if a consumer disputes the accuracy

of information contained in a consumer file at a credit reporting agency, “the agency

shall, free of charge, conduct a reasonable reinvestigation to determine whether the

disputed information is inaccurate and record the current status of the disputed

information, or delete the item from the file” within 30 days of receipt of the notice

of dispute. 15 U.S.C. § 1681i(a)(1)(A). After the reinvestigation, if the agency finds

that the information is inaccurate, incomplete, or cannot be verified, it shall

“promptly delete that item of information from the file of the consumer, or modify

that item of information” and “promptly notify the furnisher of that information that

the information has been modified or deleted” from the consumer’s file. 15 U.S.C.

§ 1681i(a)(5)(A). A claim pursuant to section 1681i(a) “is properly raised when a

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particular credit report contains a factual deficiency or error that could have been

remedied by uncovering additional facts that provide a more accurate representation

about a particular entry.” Cahlin, 936 F.2d at 1160. A plaintiff can, at the pleading

stage, make a plausible showing that an item of information in a credit report is

inaccurate or incomplete; thus, if a consumer fails to set forth such facts, he has, as

a matter of law, not established a violation of section 1681i(a). Id. at 1156.

                                          IV.

      We conclude from the record that the district court properly granted

Appellees’ motion for judgment on the pleadings because Batterman’s complaint

does not allege that the reported debt is inaccurate as to the amount. His complaint

focuses on the inclusion of the liquidated damages on his credit reports and his

allegation that he does not owe liquidated damages to BR Carroll. The report of

the liquidated damages is not a factual inaccuracy; rather, it is a contractual

dispute. Such contractual disputes require resolution by a court of law, not a credit

reporting agency. Batterman’s claims are not that the Appellees reported any

factually incorrect information in his credit report, but rather, that they failed to

accept his interpretation that he lawfully terminated the lease due to its

uninhabitability. Unfortunately, the lease is silent regarding who determines

whether an apartment is uninhabitable and any consequences on the tenant’s

responsibility for liquidated damages. The Appellees could not have addressed

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issues related to the amount of the debt until the legal issues surrounding the lease

were resolved first.

      We conclude that Batterman’s complaint concerns a contractual dispute that

requires resolution by a court of law, not a credit reporting agency. As such, the

complaint does not allege a factual inaccuracy in the credit reports and does not

contain allegations sufficient to raise a right to relief on Batterman’s FCRA claims.

Accordingly, for the aforementioned reasons, we affirm the district court’s order

granting the Appellees’ motion for judgment on the pleadings.

      AFFIRMED.




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                                           UNITED STATES COURT OF APPEALS
                                              FOR THE ELEVENTH CIRCUIT

                                             ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                                           56 Forsyth Street, N.W.
                                                           Atlanta, Georgia 30303


David J. Smith                                                                                                        For rules and forms visit
Clerk of Court                                                                                                        www.ca11.uscourts.gov

                                                          October 07, 2020

MEMORANDUM TO COUNSEL OR PARTIES

Appeal Number: 20-11717-GG
Case Style: Jared Batterman v. Equifax Information Services, et al
District Court Docket No: 1:19-cv-01598-CC

This Court requires all counsel to file documents electronically using the Electronic Case Files ("ECF") system, unless
exempted for good cause. Non-incarcerated pro se parties are permitted to use the ECF system by registering for an
account at www.pacer.gov. Information and training materials related to electronic filing, are available at
www.ca11.uscourts.gov. Enclosed is a copy of the court's decision filed today in this appeal. Judgment has this day been
entered pursuant to FRAP 36. The court's mandate will issue at a later date in accordance with FRAP 41(b).

The time for filing a petition for rehearing is governed by 11th Cir. R. 40-3, and the time for filing a petition for rehearing en
banc is governed by 11th Cir. R. 35-2. Except as otherwise provided by FRAP 25(a) for inmate filings, a petition for rehearing
or for rehearing en banc is timely only if received in the clerk's office within the time specified in the rules. Costs are governed
by FRAP 39 and 11th Cir.R. 39-1. The timing, format, and content of a motion for attorney's fees and an objection thereto is
governed by 11th Cir. R. 39-2 and 39-3.

Please note that a petition for rehearing en banc must include in the Certificate of Interested Persons a complete list of all
persons and entities listed on all certificates previously filed by any party in the appeal. See 11th Cir. R. 26.1-1. In addition, a
copy of the opinion sought to be reheard must be included in any petition for rehearing or petition for rehearing en banc. See
11th Cir. R. 35-5(k) and 40-1 .

Counsel appointed under the Criminal Justice Act (CJA) must submit a voucher claiming compensation for time spent on the
appeal no later than 60 days after either issuance of mandate or filing with the U.S. Supreme Court of a petition for writ of
certiorari (whichever is later) via the eVoucher system. Please contact the CJA Team at (404) 335-6167 or
cja_evoucher@ca11.uscourts.gov for questions regarding CJA vouchers or the eVoucher system.

Pursuant to Fed.R.App.P. 39, costs taxed against the appellant.

Please use the most recent version of the Bill of Costs form available on the court's website at www.ca11.uscourts.gov.

For questions concerning the issuance of the decision of this court, please call the number referenced in the signature block
below. For all other questions, please call Joseph Caruso, GG at (404) 335-6177.

Sincerely,

DAVID J. SMITH, Clerk of Court

Reply to: Djuanna H. Clark
Phone #: 404-335-6151

                                                                                            OPIN-1A Issuance of Opinion With Costs
